

Matter of Levine (2021 NY Slip Op 02526)





Matter of Levine


2021 NY Slip Op 02526


Decided on April 28, 2021


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 28, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, A.P.J.
REINALDO E. RIVERA
MARK C. DILLON
CHERYL E. CHAMBERS
ANGELA G. IANNACCI, JJ.


2021-00248

[*1]In the Matter of Ira S. Levine, admitted as Ira Levine, an attorney and counselor-at-law. Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts, petitioner; Ira S. Levine, respondent. (Attorney Registration No. 1742428)



APPLICATION pursuant to 22 NYCRR 1240.10 by Ira S. Levine, who was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on March 16, 1966, under the name Ira Levine, to resign as an attorney and counselor-at-law. In a separate proceeding under Appellate Division Docket No. 2014-03393, by opinion and order of this Court dated January 20, 2016, the respondent was suspended from the practice of law for six months (see Matter of Levine, 137 AD3d 14). By decision and order of this Court dated November 23, 2016, the respondent's motion for reinstatement was granted.



Diana Maxfield Kearse, Brooklyn, NY, for petitioner.
Michael A. Gentile, Denver, NY, for respondent.



PER CURIAM.


OPINION &amp; ORDER
The respondent, Ira S. Levine, admitted as Ira Levine, has submitted an affidavit sworn to on December 30, 2020, in support of his application to resign as an attorney and counselor-at-law (see 22 NYCRR 1240.10). The respondent acknowledges that he is currently the subject of an investigation by the Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts, involving at least the following acts of professional misconduct: the misappropriation of down payments entrusted to him as a fiduciary incident to the practice of law, prior to closings in which he represented the seller; failure to maintain the required bookkeeping records for his escrow account; and failure to close his escrow account during the period of his previous suspension. The respondent avers that he cannot successfully defend himself against these allegations.
The respondent also acknowledges that his resignation is freely and voluntarily tendered, that he is not being subjected to coercion or duress by anyone, and that he is fully aware of the implications of submitting his resignation, including that the Court's acceptance and approval shall result in the entry of an order of disbarment striking his name from the roll of attorneys and counselors-at-law.
As to the issue of restitution, the respondent avers that, although the results of the Grievance Committee's investigation revealed that client funds were misappropriated, all of the funds were returned to the appropriate parties prior to the Grievance Committee's investigation, as confirmed by bank records; therefore no restitution is necessary. The Grievance Committee confirmed that, while down payment funds were compromised, the respondent always paid his clients at the subject closings, and the Grievance Committee has not received any complaints from [*2]clients regarding missing funds.
Notwithstanding the foregoing, the respondent acknowledges that his resignation is submitted subject to any future application that may be made by the Grievance Committee for an order, pursuant to Judiciary Law § 90(6-a), directing that he make restitution or reimburse the Lawyers' Fund for Client Protection, and that he consents to the Court's continuing jurisdiction to make such an order.
The respondent also acknowledges and agrees that, pending the issuance of this opinion and order accepting his resignation, he will not undertake to represent any new clients or accept any retainers for future legal services to be rendered and that there will be no transactional activity in any fiduciary account to which he has access, other than for payment of funds held therein on behalf of clients or others entitled to receive them.
Finally, the respondent acknowledges that, in the event the Court accepts his resignation, the order resulting therefrom and the records and documents filed in relation to the aforementioned charges and allegations, including his affidavit, shall be deemed public records pursuant to Judiciary Law § 90(10).
The Grievance Committee recommends that the Court grant the respondent's application to resign.
Inasmuch as the respondent's application to resign complies with the requirements of 22 NYCRR 1240.10, the application is granted and, effective immediately, the respondent is disbarred and his name is stricken from the roll of attorneys and counselors-at-law.
MASTRO, A.P.J., RIVERA, DILLON, CHAMBERS and IANNACCI, JJ., concur.
ORDERED that the application of the respondent, Ira S. Levine, admitted as Ira Levine, to resign as an attorney and counselor-at-law is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Ira S. Levine, admitted as Ira Levine, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that the respondent, Ira S. Levine, admitted as Ira Levine, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see 22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Ira S. Levine, admitted as Ira Levine, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Ira S. Levine, admitted as Ira Levine, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and he shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








